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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:20-cv-00942-MEH

 SENSORIA, LLC, directly on its own behalf and derivatively on behalf
 of CLOVER TOP HOLDINGS, INC., a Delaware corporation;
 GORDON MORTON; ROGER SMITH; ROBIN SMITH; DENNIS
 GRIMMER; LAURA GRIMMER; GREENHOUSE 5, LLC; AARON
 GARRITY; GARRETT SCHIFFMAN; LANCE SCHIFFMAN;
 KENNETH D. HOUSE; MARC LESSER,

               Plaintiffs,

 v.

 JOHN D. KAWESKE; CHRISTOPHER S. PETERSON;
 CLOVER TOP HOLDINGS, INC., a Delaware corporation;
 CLOVER TOP HOLDINGS, a Colorado corporation;
 AJC INDUSTRIES, LLC;
 DURANGO MANAGEMENT, LLC;
 SUNLIFE AG, LLC;
 MMJ 95, LLC;
 TWEEDLEAF LLC, a Colorado limited liability company;
 TWEEDLEAF, LLC, a Delaware limited liability company;
 LIFESTREAM HOLDINGS LLC;
 ORDWAY FARMS LLC;
 NORTH STAR HOLDINGS aka NORTH STAR HOLDINGS, INC.;
 MANUEL WELBY EVANGELISTA aka WELBY EVANGELISTA;
 DJDW, LLC;
 JW COLORADO, LLC;
 JW ORDWAY, LLC;
 JW TRINIDAD, LLC;
 BRIAN TANNENBAUM;
 TANNENBAUM & TROST, LLC fka TANNENBAUM, TROST &
 BURK, LLC; and
 DOES 1-100,

               Defendants.



      JOHN KAWESKE AND THE ENTITY DEFENDANTS’ MOTION TO DISMISS
                PLAINTIFFS’ THIRD AMENDED COMPLAINT
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                                          INTRODUCTION

         In dismissing most of Plaintiffs’ Second Amended Complaint, the Court emphasized that

 “[k]ey aspects of this lawsuit concern activities that represent either actual ongoing CSA

 violations (by Defendants) or the attempt to recover the investment in an enterprise (Clover Top

 Holdings, Inc.) whose activities implicate the CSA. Marijuana is not an indirect or tangential

 aspect of the dispute. It lies at the heart of the business and thus the lawsuit.” (ECF No. 200

 at 17-18 (emphasis added).) Despite the Court’s clear mandate to Plaintiffs to reframe their

 claims in a manner that does not implicate the CSA, Plaintiffs’ Third Amended Complaint is déjà

 vu all over again. They are still seeking profits from, and ownership interests in, marijuana

 businesses that are illegal under federal law—relief that this Court has said, not once but twice, it

 cannot give. And as with their prior attempts to amend, Plaintiffs try to obfuscate the illegal

 nature of their investment and the illegal nature of Clover Top’s business—this time through

 digressive and irrelevant explanations of “marihuana” under the CSA and the potential for

 obtaining permission from the FDA and DEA to manufacture and distribute controlled

 substances for research purposes. Despite those efforts, the Third Amended Complaint makes

 plain that marijuana continues to lie at the heart of the lawsuit, that Plaintiffs are seeking relief

 that squarely implicates the CSA, and that there is accordingly “no form of redress that [the

 Court] may provide.” (Id. at 18.)

         Plaintiffs also try to escalate again by adding 10 new plaintiffs—all of them marijuana

 investors like Sensoria and Gordon Morton—and various new RICO claims against Kaweske.

 These claims should be dismissed for various independent reasons. First, Plaintiffs’ RICO claims

 all fail because Plaintiffs have not pled injury to a cognizable business or property interest; the



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 only injury they plausibly plead is to their interest in racketeering activity, which, if recognized,

 would turn RICO on its head. Second, the two RICO claims Plaintiffs bring individually are

 premised on harm to Clover Top, meaning they are actually derivative claims Plaintiffs lack

 standing to bring directly on their own behalf. Third, Plaintiffs have not pled a plausible theory

 of causation supporting their RICO claim premised on Kaweske’s marijuana activities. Finally,

 their RICO claims based on Defendants’ alleged conversion of their investment and Clover

 Top’s assets and interests fail because they are each actionable as securities fraud (and therefore

 cannot be the premise of a RICO claim under 18 U.S.C. § 1964(c)), and because they involve a

 single, completed scheme (and therefore lack the continuing threat of criminal activity that RICO

 requires). For these reasons, Plaintiffs’ RICO claims should be dismissed entirely.

                                             ARGUMENT

 I.      ILLEGALITY PREVENTS PLAINTIFFS FROM OBTAINING THE RELIEF
         THEY SEEK

         At this point, it is beyond question that the illegality defense is plain from the face of

 Plaintiffs’ Third Amended Complaint. Plaintiffs’ implausible attempts to cast themselves as

 unknowing, passive investors notwithstanding, they invested in Clover Top knowing that its

 purpose was to grow and sell marijuana, they knew Clover Top actually engaged in those illegal

 activities, and they hoped to profit from those illegal activities. (ECF No. 206, ¶¶ 37-43, 45-47,

 52, 73, 75, 78, 84, 86.) The central issue, given this backdrop, is whether the Court can grant

 Plaintiffs their requested relief in a way that does not implicate the CSA.

         The Court has already made clear that it “may not vindicate equity in or award profits

 from a business that grows, processes, and sells marijuana.” (ECF No. 200 at 17 (citing cases).)

 Yet that is precisely the relief Plaintiffs continue to seek. Plaintiffs still seek an order granting


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 them an ownership interest in, and title to the assets of, the Entity Defendants, which are illegal

 marijuana enterprises (ECF No. 206, ¶ 146); “consequential damages comprising their share of

 profits to be earned by all Kaweske-related entities” (id., ¶ 188, 194); damages for Defendants’

 alleged corporate waste, conversion, and civil theft of Clover Top’s assets, which were allegedly

 put to use in competing illegal marijuana businesses (id. ¶¶ 204-05, 212-13, 215-17); avoidance

 of purportedly fraudulent transfers of those assets to competing illegal marijuana businesses,

 together with an attachment or other provisional remedy against the property of illegal marijuana

 businesses (id. ¶¶ 225); and restitution from, and a constructive trust on, competing illegal

 marijuana businesses (id. ¶¶ 238-40). As with their prior complaints, Plaintiffs are seeking forms

 of relief that implicate the CSA, which the Court cannot grant.

        Plaintiffs try unsuccessfully to avoid this result in several ways. First, they contend that

 the Third Amended Complaint should not be construed as seeking relief that involves

 Defendants’ marijuana activities; instead, they are only seeking recovery from business

 activities, property, and other interests “independent of illegal activities associated with

 marijuana.” (Id., ¶ 137.) But as the Court already found, even Defendants’ legal interests in

 buildings and land are unlawful and subject to criminal forfeiture because “they are being used

 for marijuana.” (ECF No. 200 at 17.) So Plaintiffs cannot avoid the illegality defense by

 distinguishing between Defendants’ “legal” assets and interests and the clearly illegal income

 streams, assets, and interests of the enterprise—federal law forecloses that distinction. In reality,

 despite Plaintiffs’ paragraph 137, Plaintiffs continue to seek relief that would be paid from asset

 sources that are wholly dependent on marijuana. That is impermissible relief and warrants

 dismissal of their claims for a third time. (See ECF No. 150 at 13 (dismissing plaintiffs’ claims



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 because Court could not understand how relief could be fashioned that would be paid from an

 asset source independent of marijuana); ECF No. 200 at 18 (same).)1

        Plaintiffs also try to avoid the illegality bar by claiming that “the line between legal and

 illegal cannabis is not clear cut.” (ECF No. 206, ¶ 44.) This is a bright red herring. It’s true that

 the CSA authorizes the use of marijuana in strictly controlled research studies that have been

 approved by the FDA, 21 U.S.C. § 823(f), but Plaintiffs do not allege that Defendants are

 manufacturing marijuana for an FDA study.2 It’s also true that the FDA has approved a handful

 of pharmaceutical drugs derived from cannabis (ECF No. 206, ¶ 44), but Plaintiffs do not allege

 that Defendants are manufacturing those drugs. In other words, it makes no difference that “a

 controlled substance like marijuana could conceivably be used in a commercial enterprise”

 consistent with federal law (ECF No. 206, ¶ 44 (emphasis added)); the relevant question is

 whether Defendants here are actually conducting their marijuana business in compliance with

 federal law, such that there is a legal income stream from which Plaintiffs can recover. The Third

 Amended Complaint, which is replete with references to retail marijuana dispensaries, and even

 accuses Defendants of engaging in racketeering activity through their manufacture and

 distribution of marijuana, makes clear that they are not. (ECF No. 206, ¶¶ 73, 75, 84, 97, 109,

 110, 133, 242, 247, 250.) They are instead manufacturing and distributing marijuana in violation


 1
  Accord Polk v. Gontmakher, No. 2:18-CV-01434-RAJ, 2020 WL 2572536, at *2 (W.D. Wash.
 May 21, 2020) (“[Plaintiff’s] claim that his requested relief would not require a violation of the
 CSA defies logic. . . . He is demanding the future profits of a business that produces and
 processes marijuana in violation of federal law. How does [plaintiff] anticipate [the marijuana
 business] will generate these future profits?”).
 2
   Plaintiffs can only muster an allegation that North Star submitted research license applications
 to the DEA. (ECF No. 206, ¶ 44.) That is a far cry from North Star actually manufacturing
 marijuana with the DEA’s approval.


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 of the CSA. See 21 U.S.C. §§ 841(a)(1), 844(a); 18 U.S.C. § 2(a).3 What little ambiguity or

 nuance may exist under federal marijuana law is of no aid to Plaintiffs here. They are seeking to

 vindicate their ownership interests in, and their claimed right to the profits of, an illegal

 marijuana enterprise. That is squarely foreclosed by the Court’s prior rulings.

        In its prior ruling, the Court said that although illegality barred much of Plaintiffs’

 requested relief, two forms of relief remain available to them: an accounting, and rescission of

 their purchase of Clover Top shares, together with a return of their principal investment. (ECF

 No. 200 at 18-19.) But given the illegality issues permeating the Third Amended Complaint,

 these forms of relief are foreclosed, as well.

        An equitable accounting is an “extraordinary remedy” that may be ordered when the

 plaintiff is unable to determine how much, if any, is owed to him from another. Andrikopoulos v.

 Broadmoor Mgmt. Co., Inc., 670 P.2d 435, 440 (Colo. App. 1983). Here, Plaintiffs claim they

 are entitled to an accounting because they are “unable to determine how much, if any, money is

 due to [them] from defendants in excess of the $700,000 plus interest [they] invested in Clover

 Top.” (ECF No. 206, ¶ 154.) This runs headlong into the illegality issue: they want to know the

 amount of illegal marijuana profits they are entitled to, which the Court has already ruled they

 cannot recover as a matter of law. (ECF No. 200 at 18.) It is true that “the act of accounting for



 3
   Plaintiffs are also incorrect in insinuating that Congress, in enacting the CSA, recognized that
 marijuana has “a useful and legitimate medical purpose and [is] necessary to maintain the health
 and general welfare of the American people.” (ECF No. 206, ¶ 44.) In fact, that congressional
 finding only applies to those controlled substances listed in Schedules II through V of the CSA.
 Gonzales v. Raich, 545 U.S. 1, 24 (2005) (the CSA’s “regulatory scheme is designed to foster the
 beneficial use of those medications, to prevent their misuse, and to prohibit entirely the
 possession or use of substances listed in Schedule I, except as a part of a strictly controlled
 research project”). For fifty years, Congress has classified marijuana as a Schedule I drug. Id.


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 [Plaintiffs’] financial benefit does not directly implicate the CSA in the same way” as actually

 “awarding any financial benefit from marijuana” (id.), but given that Plaintiffs are legally

 entitled to $0 in illegal marijuana profits, they are easily able to (and the Third Amended

 Complaint does) calculate the amount they claim to be owed: $700,000, representing their

 cumulative principal investment. Because that amount is a sum certain, the extraordinary remedy

 of accounting is not available to them. See Andrikopoulos, 670 P.2d at 440; Macey v.

 Archdiocese of Detroit Priests’ Pension Plan, Inc., 2015 WL 1214589, at *2 (Mich. Ct. App.

 Mar. 17, 2015) (“While plaintiffs describe this action as one seeking an equitable accounting, in

 actuality it is not. There is no dispute regarding what amount is owed to plaintiffs . . . .”); White

 v. Mid-Continent Invs., Inc., 789 S.W.2d 34, 40-41 (Mo. Ct. App. 1990) (dismissing plaintiff’s

 accounting claim because “no doubt exists as to the amount of [her] debt”).

         The remedy of rescission is also unavailable because of illegality. Plaintiffs’ investment

 in Clover Top was illegal under federal law. See 21 U.S.C. §§ 853, 881; In re Malul, 614 B.R.

 699, 711 (Bankr. D. Colo. 2020) (finding it was illegal for marijuana investor to execute

 Subscription Agreement, own interest in marijuana business, and receive distributions from

 marijuana business on account of that interest). Allowing rescission in this circumstance would

 not just endorse their illegal activity; it would affirmatively provide redress for it. That, in turn,

 “would undermine enforcement of federal law by giving prospective investors increased

 confidence in funding marijuana businesses.” Bart St. III v. ACC Enterprises, LLC, No.

 217CV00083GMNVCF, 2020 WL 1638329, at *9 (D. Nev. Apr. 1, 2020) (dismissing marijuana




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 investor’s unjust enrichment claim under unclean hands doctrine).4 It is true, as the Court

 recognized, that courts balance the pros and cons of enforcing an illegal agreement, and that

 unjust enrichment to the defendant factors into the analysis, but in Kush, Inc., the plaintiff’s

 requested relief—ordering the defendant to “perform ministerial tasks”—did not “involve illegal

 conduct under the law.” 2020 WL 8371452, at *4 (D. Nev. June 19, 2020). As a consequence,

 the balance between illegality and unjust enrichment did not tip in the defendant’s favor. Here, in

 stark contrast, Plaintiffs’ rescission claim necessarily involves illegal conduct, as their

 investment would be returned from illegal income streams generated by Defendants’ marijuana

 business. In this circumstance, the balance tips decidedly in favor of dismissing Plaintiffs’

 rescission claim on illegality grounds.

        For these reasons, illegality bars all of the relief Plaintiffs seek through their Third

 Amended Complaint.

 II.    PLAINTIFFS’ RICO CLAIMS FAIL AS A MATTER OF LAW

        Plaintiffs’ RICO claims fare no better. To maintain a RICO claim, Plaintiffs must

 plausibly plead: (1) that Defendants violated 18 U.S.C. § 1962; (2) that Plaintiffs’ business or

 property was injured; and (3) that Defendants’ violation is the cause of that injury. Safe Streets

 All. v. Hickenlooper, 859 F.3d 865, 881 (10th Cir. 2017). Plaintiffs’ Second Amended Complaint

 asserted one RICO claim, which the Court dismissed because it “[fell] short of the very specific
 4
   Accord Hemphill v. Liberty Mut. Ins. Co., No. CV 10-861 LH/RHS, 2013 WL 12123984, at *2-
 3 (D.N.M. Mar. 28, 2013) (granting summary judgment to defendant on ground that federal court
 could not require insurance company to pay plaintiff’s future medical expenses for medical
 marijuana use because to do so would violate federal law and policy); Tracy v. USAA Cas. Ins.
 Co., No. CIV. 11-00487 LEK, 2012 WL 928186, at *13 (D. Haw. Mar. 16, 2012) (declining to
 order home insurer to pay for insured’s claim for theft of marijuana plants because “Plaintiff’s
 possession and cultivation of marijuana, even for State-authorized medical use, clearly violates
 federal law”).


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 elements that define a RICO claim.” (ECF No. 200 at 24.) Instead of curing the defects the Court

 identified, Plaintiffs now assert four separate claims under RICO. Each claim is premised on

 different alleged conduct—growing marijuana (18th Cause of Action), defrauding Clover Top’s

 investors (19th), defrauding Clover Top of the investments it received (20th), and defrauding

 Clover Top of its nonmonetary assets and interests (21st). Regardless of the conduct alleged,

 Plaintiffs fail to state essential elements of a RICO claim.

        A.      Plaintiffs Have Failed to Allege a Cognizable Business or Property Interest
                Under RICO

        All four of Plaintiffs’ RICO claims fail because “RICO does not provide redress for

 injury to a marijuana business” (ECF No. 199 at 6), or, more generally, “for injury to a property

 interest that is contrary to public policy or the law.” (ECF No. 200 at 23 (citing Doe v. Roe, 958

 F.2d 763, 768 (7th Cir. 1992).) Consistent with that rule, Plaintiffs cannot use RICO to seek

 damages for injuries to their interests in Clover Top, which is an illegal marijuana business:

        The business or property interests Sensoria seeks to vindicate are in a business
        that would grow, process, and sell marijuana. Even if Sensoria did not intend to
        invest in an illegal business, that was the nature of its operations. Sensoria seeks
        redress for those aspects of Clover Top Holdings, Inc.’s activities that themselves
        are unlawful.

 (Id.) By the same logic, Plaintiffs cannot seek derivative relief on Clover Top’s behalf for

 injuries Clover Top allegedly suffered. In the absence of a business or property interest that

 Congress intended to protect by enacting RICO, Plaintiffs cannot maintain any of their RICO

 claims.5


 5
  To the extent Plaintiffs are suggesting that RICO affords protection to their interests in Clover
 Top and Clover Top’s own interests because marijuana is legal under Colorado law, they are
 mistaken. Although state law determines whether a particular interest amounts to property in
 most cases, federal courts “are not required to adopt a state interpretation of ‘business or


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         Plaintiffs’ Third Amended Complaint tries to avoid the implication of the Court’s prior

 order by recasting their property interests in an illegal marijuana business as “valuable choses in

 action” and “rights to legal relief for the violations of their rights.” (ECF No. 206, ¶ 251.) These

 purported interests are too conclusory and vague to support a plausible RICO claim. Under a

 generous reading of these new allegations, Plaintiffs appear to be claiming as cognizable

 property interests the very claims asserted in this action, thus impliedly arguing that the Court’s

 dismissal of Plaintiffs’ claims on the basis of illegality satisfies the property interest element of

 their RICO claims. This logic is circular. It is also unavailing, as the illegality of Plaintiffs’

 requested relief requires dismissal of both Plaintiffs’ common law claims and their RICO claims.

         Even more importantly, the Complaint makes clear that these purported rights flow from

 Plaintiffs’ “legal rights (in their personal capacity and in their capacity as shareholders) in Clover

 Top” (id.)—in other words, from their interests in a business that grows, processes, and sells

 marijuana. Plaintiffs’ semantics aside, they are fundamentally asking the Court to employ a

 federal statute intended to thwart criminal activity to vindicate their interest in criminal activity.

 That is patently absurd and not what Congress intended when it enacted RICO. All of Plaintiffs’

 RICO claims fail for this reason.


 property’ if it would contravene Congress’ intent in enacting RICO.” Doe, 958 F.2d at 768;
 accord Ivar v. Elk River Partners, LLC, 705 F. Supp. 2d 1220, 1234 (D. Colo. 2010) (“[E]ven
 though courts may look to state law to determine, for RICO purposes, whether a property interest
 exists, it does not follow that any injury for which a plaintiff might assert a state law claim is
 necessarily sufficient to establish a claim under RICO.”). Here, even if Colorado law recognizes
 Plaintiffs’ and Clover Top’s interests, recognizing them as “business or property” for RICO
 purposes would contravene Congress’ manifest intent in enacting RICO, which itself defines the
 cultivation and distribution of marijuana as “racketeering activity.” Safe Streets Alliance, 859
 F.3d at 882 (citing 18 U.S.C. § 1961(1)).


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        B.      Plaintiffs’ Eighteenth and Nineteenth Causes of Action Fail Because They are
                Derivative in Nature

        Plaintiffs’ eighteenth and nineteenth causes of action are RICO claims against Kaweske

 that Plaintiffs assert directly on their own behalf. Plaintiffs lack standing to bring these claims

 because they are derivative in nature. It is well-established that “corporate shareholders do not

 have standing to sue under the civil RICO statute for alleged injuries to the corporation.” Bixler

 v. Foster, 596 F.3d 751, 758-59 (10th Cir. 2010) (collecting cases). Here, Plaintiffs’ eighteenth

 cause of action specifically alleges that Kaweske “deprived Plaintiffs of their legal rights (in their

 personal capacity and in their capacity as shareholders) in Clover Top” (ECF No. 206, ¶ 251),

 and their nineteenth cause of action is premised on injuries to their investment in Clover Top (id.,

 ¶¶ 259-71). Based on the well-pled allegations in the Complaint (as opposed to Plaintiffs’

 conclusory, vague, and circular reliance on their “valuable choses in action” or other undefined

 business or property interests), the gravamen of these claims is that Kaweske’s conduct has

 rendered their Clover Top stock valueless. “Such an injury is not direct and personal for RICO

 purposes but is, rather, an injury to the corporation.” Bixler, 596 F.3d at 757. Therefore,

 Plaintiffs do not have standing to maintain their eighteenth and nineteenth causes of action.

        C.      Plaintiffs’ Eighteenth Cause of Action Fails for Lack of Plausible Causation

        Plaintiffs’ eighteenth cause of action also lacks a plausible theory of causation. RICO’s

 causation element requires Plaintiffs to plausibly allege that a RICO predicate act not only was a

 “but for” cause of their injury, but was the proximate cause as well. Anza v. Ideal Steel Supply

 Corp., 547 U.S. 451, 457 (2006). Although Plaintiffs claim that Kaweske’s marijuana activities

 caused injury to Plaintiffs’ business or property (ECF No. 206, ¶ 251), the Court need not accept

 that allegation as true. See Hemi Grp., LLC v. City of New York, N.Y., 559 U.S. 1, 14 (2010). And


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 Plaintiffs’ Third Amended Complaint makes clear that they have not and cannot plausibly plead

 either form of causation.

         To establish “but for” causation, Plaintiffs must plausibly show that their injuries would

 not have occurred but for Kaweske’s marijuana activities. RWB Servs., LLC v. Hartford

 Computer Grp., Inc., 539 F.3d 681, 686-687 (7th Cir. 2008). In Safe Streets Alliance, for

 example, plaintiff landowners asserted a civil RICO claim against defendants, who ran a

 marijuana grow operation on adjoining property, alleging that the stench from and presence of

 the illegal operation harmed their enjoyment of the property and its resale value. 859 F.3d at 886-

 87. The Tenth Circuit held that plaintiffs plausibly alleged “but for” causation—if the defendants

 were not growing marijuana next door (a RICO violation), plaintiffs’ claimed injuries would not

 have occurred. Id. at 886-88. Here, by contrast, there is no causal link whatsoever between

 Kaweske’s alleged RICO violations—cultivating and distributing marijuana (ECF No. 206, ¶

 242)—and Plaintiffs’ alleged injuries to their Clover Top stock, or to their “valuable choses in

 action” and “rights to legal relief for the violations of their rights” as Clover Top shareholders.

 To the extent Plaintiffs are claiming that they cannot get legal relief in these circumstances, that

 is a consequence of federal law, not of Kaweske’s marijuana activities.

         Plaintiffs also cannot establish proximate causation under this theory. “When a court

 evaluates a RICO claim for proximate causation, the central question it must ask is whether the

 alleged violation led directly to the plaintiff’s injuries”; indirect injuries do not suffice. Anza, 547

 U.S. at 461 (emphasis added). In Anza, the defendants allegedly defrauded New York’s tax

 authority by committing mail and wire fraud, in violation of RICO. Id. at 457–59. However, the

 plaintiff sought to recover for its lost sales, the result of the defendants’ distinct scheme of



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 artificially lowering prices by not charging customers required sales taxes. Id. at 458. The

 Supreme Court held that plaintiff’s RICO claims failed to meet the proximate cause element

 because “[t]he cause of [the] asserted harms” was “a set of actions (offering lower prices)

 entirely distinct from the alleged RICO violation (defrauding the State).” Id. Here, the alleged

 cause of Plaintiffs’ asserted harms is a set of actions (Kaweske’s alleged conversion of Clover

 Top’s assets, which rendered Plaintiffs’ Clover Top stock valueless; and Defendants asserting

 the illegality defense, which the Court has enforced, thereby depriving Plaintiffs of purported

 “choses in action”) entirely distinct from Kaweske’s alleged RICO violations (growing and

 selling marijuana in violation of the CSA). There is no link, much less a direct one, between

 Kaweske’s alleged racketeering activity and Plaintiffs’ alleged injuries. Therefore, as in Anza,

 Plaintiffs’ eighteenth cause of action fails for lack of plausible proximate cause. See also Sladek

 v. Bank of Am., NA, No. 13-cv-03094-PAB-MEH, 2014 WL 8105181, at *8 (D. Colo. July 30,

 2014) (Hegarty, J.) (dismissing plaintiff’s RICO claim because alleged RICO violations did not

 “directly involve the foreclosure” of her home, which was her sole alleged injury).

        D.      Plaintiffs’ Nineteenth, Twentieth, and Twenty-First Causes of Action are
                Barred by the PSLRA Bar and Fail for Lack of Continuity

        Plaintiffs’ nineteenth, twentieth, and twenty-first causes of action all involve Kaweske’s

 alleged conversion of their investments and Clover Top’s assets and interests. These causes of

 action are (1) barred by 18 U.S.C. § 1964(c), which prohibits RICO claims based upon “conduct

 that would have been actionable as fraud in the purchase or sale of securities” (the “PSLRA

 Bar”); and (2) do not satisfy RICO’s requirement of a continuous pattern of racketeering activity.

        The PSLRA Bar “was intended not simply ‘to eliminate securities fraud as a predicate

 offense in a civil RICO action,’ but also to prevent a plaintiff from ‘plead[ing] other specified


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 offenses, such as mail or wire fraud, as predicate acts under civil RICO if such offenses are

 based on conduct that would have been actionable as securities fraud.’” Bald Eagle Area Sch.

 Dist. v. Keystone Fin., Inc., 189 F.3d 321, 327 (3d Cir. 1999) (quoting H.R. Conf. Rep. No. 104-

 369, at 47 (1995)). Accordingly, “[c]ourts have consistently concluded that where a plaintiff

 alleges a ‘single scheme’ and any predicate act is barred under the PSLRA, the entire RICO

 claim is precluded.” Perkumpulan Inv. Crisis Center Dressel-WBG v. Wong, 2014 WL 1047946,

 at *7 (W.D. Wash. Mar. 14, 2014) (citing cases); see also Bixler, 596 F.3d at 760 (PSLRA Bar

 applied to various forms of non-securities fraud alleged in complaint because conduct was

 “undertaken in connection with the purchase of a security”).6 A predicate act is subject to the

 PSLRA Bar if it is in furtherance of a scheme by which the RICO defendant “use[d] or

 employ[ed], in connection with the purchase or sale of any security,” “any device, scheme, or

 artifice to defraud.” See 15 U.S.C. § 78j(b). The Supreme Court has endorsed a “broad reading”

 of the phrase “in connection with,” holding that “it is enough that the scheme to defraud and the

 sale of securities coincide.” S.E.C. v. Zandford, 535 U.S. 813, 819-823 (2002). Under this

 standard, the Third Amended Complaint makes clear that Plaintiffs’ nineteenth, twentieth, and

 twenty-first causes of action are based on at least one predicate act that would have been

 actionable as securities fraud.




 6
   See also, e.g., Bald Eagle Area School Dist., 189 F.3d at 330 (RICO claim barred where some,
 but not all, of the predicate acts are actionable as securities fraud, because “[a]llowing such
 surgical presentation of the cause of action . . . would undermine the congressional intent behind
 the RICO Amendment”); Sell v. Zions First Nation Bank, 2006 WL 322469, at *9-*11 (D. Ariz.
 Feb. 9, 2006) (dismissing RICO claim predicated upon mail fraud, wire fraud, and bank fraud,
 explaining that alleged instances of bank fraud were “but tentacles of the same octopus,
 sufficiently connected to securities fraud to bar their use as predicate acts”).


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        According to the Complaint, Kaweske and Peterson “engaged in a scheme to steal,

 convert, or take by fraud” Plaintiffs’ money through various misrepresentations and omissions

 about the nature of the Clover Top opportunity—primarily, that it would be the “mother ship” for

 all cannabis-related entities, technologies, and brands under Defendants’ control, with all profits

 inuring to the benefit of Clover Top’s shareholders. (ECF No. 206, ¶¶ 39-40, 45-47, 52, 54.) But

 Plaintiffs claim that was a lie, that Kaweske and Peterson actually intended to use Clover Top

 investor money to expand their cannabis operations and then transfer the money, assets, and

 interests to themselves or independent entities they owned. This purported lie is the basis for

 Plaintiffs’ three claims of securities fraud. (Id., ¶¶ 155-76.) And the conduct that Defendants

 allegedly engaged in furtherance of their alleged scheme—taking Plaintiffs’ money under false

 pretenses, and stripping Clover Top of its money, assets, and other interests, in violation of 28

 U.S.C. § 2314—is the basis for Plaintiffs’ non-marijuana RICO claims. (Id., ¶¶ 259-72, 284-98,

 310-20.) Based on these allegations, Plaintiffs are seeking to recover RICO’s “bonanza of treble

 damages,” Bald Eagle Area School Dist., 189 F.3d at 327, for conduct that Congress expressly

 sought to remove from the statute’s reach—that is, conduct “in connection with” securities fraud.

 See, e.g., In re Enron Corp. Sec., Derivative & ERISA Litig., 284 F. Supp. 2d 511, 622 (S.D.

 Tex. 2003) (PSLRA Bar barred RICO claim based on violation of 28 U.S.C. § 2314 because

 violation was “part[] of an overarching scheme and conspiracy to defraud current and

 prospective shareholders . . . , with all alleged acts and omissions intended to achieve the same

 goal, personal enrichment of Defendants at the expense of the corporation . . . .”). Plaintiffs’

 nineteenth, twentieth, and twenty-first causes of action are subject to the PSLRA Bar and should

 be dismissed on this basis.



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        These causes of action also fail for lack of continuity. To satisfy RICO’s pattern

 requirement, a plaintiff must allege “not only that the defendants had committed two or more

 predicate acts, but also that the predicates themselves amount to, or that they otherwise constitute

 a threat of, continuing racketeering activity.” Bixler, 596 F.3d at 761. “Continuity” is both a

 closed- and open-ended concept, referring either to a closed period of repeated conduct, or to

 past conduct that by its nature projects into the future with a threat of repetition. Id. When

 Congress said predicate acts “must demonstrate ‘continuity’ before they may form a RICO

 pattern, it expressed an intent that RICO reach activities that amount to or threaten long-term

 criminal activity.” H.J. Inc. v. Nw Bell Tel. Co., 492 U.S. 229, 243 n.4 (1989).

        To vindicate RICO’s “continuity” requirement, the Tenth Circuit has established a rule:

 “[a] scheme to achieve a single discrete objective does not in and of itself create a threat of

 ongoing activity, even when that goal is pursued by multiple illegal acts, because the scheme

 ends when the purpose is accomplished.” Torwest DBC, Inc. v. Dick, 810 F.2d 925, 928–29 (10th

 Cir. 1987). Bixler is particularly instructive. There, plaintiffs were shareholders of METCO, a

 uranium mining company. 596 F.3d at 755. They alleged that defendants, METCO’s directors

 and majority shareholders, (1) transferred METCO’s uranium mining rights to UKL, a company

 defendants were also directors of; (2) caused UKL to renege on its agreement to pay METCO

 $6.5 million and UKL stock as consideration for METCO’s mining rights; and (3) caused UKL

 to merge with another company, Monaro, for the purpose of shielding the mining rights from

 recovery by METCO. Id. As a result, plaintiffs argued, defendants enriched themselves and

 “rendered [plaintiffs’] METCO investment virtually worthless.” Id. The Tenth Circuit found that

 these allegations failed RICO’s “continuity” requirement because they amounted to “a single



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 scheme to accomplish the discrete goal of transferring METCO’s uranium mining interests to

 another corporation (UKL, which then allegedly transferred them to Monaro).” Id. at 761.

 Therefore, the Court affirmed the dismissal of Plaintiffs’ RICO claim. Id.

        The result should be the same here because, as the Court previously recognized, Plaintiffs

 plead “only a single scheme of asset conversion that has been completed, not an ongoing

 criminal enterprise.” (ECF No. 200 at 22.) The Third Amended Complaint alleges the following

 predicate acts: Defendants took investor money into Clover Top (ECF No. 206, ¶¶ 259-71, 284-

 96), took that money out of Clover Top (id., ¶¶ 272, 297-98), and wrongfully transferred Clover

 Top’s other interests and assets to themselves or independent entities (id., ¶¶ 310-20). Now,

 according to Plaintiffs, Defendants are operating a profitable marijuana business that Plaintiffs

 have no stake in. (Id., ¶ 110.) This is not the type of long-term, continuing criminal activity

 envisioned by Congress when it enacted RICO; at most, what Plaintiffs allege are business torts

 committed in the furtherance of a single, completed scheme, which is insufficient as a matter of

 law. See Bixler, 596 F.3d at 761.7 In the absence of those necessary allegations, Plaintiffs’

 nineteenth, twentieth, and twenty-first causes of action must be dismissed.




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   See also Boone v. Carlsbad Bancorporation, Inc., 972 F.2d 1545, 1556 (10th Cir. 1992)
 (dismissing plaintiffs’ RICO claim for failing “continuity” requirement, because plaintiffs
 alleged “what is actually a closed-ended series of predicate acts constituting a single scheme (the
 transfer of debt) to accomplish a discrete goal (the merger) directed at a finite group of
 individuals (CNB shareholders) with no potential to extend to other persons or entities”) (internal
 quotations omitted); Kriston v. Peroulis, 2010 WL 1268089, at *12 (D. Colo. Feb. 19, 2010)
 (Hegarty, J.) (“Plaintiff complains about a series of discrete acts intended against one individual
 for one purpose, that is, the repayment of the monies loaned to Plaintiff by Defendant Tony
 Peroulis. As stated above, such claims could refer to a common scheme, but fail to describe a
 threat of continuing criminal activity as required by RICO.”).


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        E.      Plaintiffs Cannot Obtain Injunctive Relief Under RICO

        All four of Plaintiffs’ RICO claims include a request that the Court enter “appropriate

 orders” enjoining Defendants in various ways. (ECF No. 206, ¶¶ 252, 277, 303, 325.) But the

 Court’s prior order could not have been more clear: “Sensoria does not overcome the Tenth

 Circuit’s ‘considerable doubt [whether] equitable relief is available to private litigants under any

 circumstances.’” (ECF No. 200 at 23 (quoting Switzer v. Coan, 261 F.3d 985, 992 n.14 (10th Cir.

 2001).).8 As before, even if Plaintiffs have stated a valid RICO claim (they have not), the Court

 should hold that Plaintiffs are barred from seeking equitable relief thereunder.

 III.   PLAINTIFFS HAVE FAILED TO PLEAD CONTRACT CLAIMS AGAINST
        KAWESKE

        For the first time in their Third Amended Complaint, Plaintiffs asserted two contract

 claims against Kaweske individually: (1) breach of contract; and (2) breach of the covenant of

 good faith and fair dealing. A necessary element of both claims is that Plaintiffs and Kaweske

 were parties to an existing contract. See Long v. Cordain, 2014 COA 177, ¶ 19, 343 P.3d 1061

 (stating elements of breach of contract claim); Peace v. Parascript Mgmt., Inc., 59 F. Supp. 3d

 1020, 1029 (D. Colo. 2014) (“[A] necessary predicate for a claim for breach of the covenant of




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   This Circuit’s serious doubts align with the doubts expressed by most other Circuits. See, e.g.,
 Ganey v. Raffone, 91 F.3d 143, n.6 (6th Cir. 1996) (Table) (noting “it is questionable” whether
 private litigants are entitled to injunctive relief and that “we find the Wollersheim analysis
 persuasive”); In re Fredeman Litig., 843 F.2d 821, 830 (5th Cir. 1988) (finding “the Wollersheim
 opinion persuasive” but declining to rule on the issue); Trane Co. v. O'Connor Sec., 718 F.2d 26,
 28 (2d Cir. 1983) (expressing “serious doubt” as to the “propriety of private party injunctive
 relief” under RICO); Dan River Inc. v. Icahn, 701 F.2d 278, 290 (4th Cir. 1983) (noting
 “substantial doubt” as to the availability of equitable relief for private parties). The Ninth Circuit
 has gone further, expressly holding that “injunctive relief is not available to a private party in a
 civil RICO action.” Religious Tech. Ctr. v. Wollersheim, 796 F.2d 1076, 1084 (9th Cir. 1986).


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 good faith and fair dealing is the existence of a contract.”). This element is conspicuously absent

 here.

         The only written agreements contained in the Third Amended Complaint are the

 subscription agreements, which Plaintiffs entered into with Clover Top, and pursuant to which

 Plaintiffs agreed to pay Clover Top money and Clover Top agreed to issue Plaintiffs shares in the

 company. (ECF No. 206, ¶ 184.) These agreements cannot be enforced against Kaweske, who

 was not a party to them. See Colo. Jury Inst.-Civil 30:10 (plaintiff must prove “defendant entered

 into a contract with the plaintiff” to sustain breach of contract claim).9

         Plaintiffs’ contract claims against Kaweske appear to be premised on an oral promise he

 made to Plaintiffs that “Clover Top would engage in the legal cannabis business and that all

 cannabis operations in which Kaweske was or would become involved would be owned by, part

 of, and fall under the umbrella of the Clover Top business, and that all such profits would inure

 to the benefit of Plaintiffs as owners.” (Id.) This purported promise is not enforceable because it

 lacks consideration. See Marquardt v. Perry, 200 P.3d 1126, 1129 (Colo. App. 2008) (valid

 contract requires consideration); Colo. Jury Inst.-Civil 30:1 (same). That is true for two reasons.

 First, according to Plaintiffs’ allegations, Kaweske made this promise before Plaintiffs invested

 in Clover Top and signed the subscription agreements. (E.g., ECF No. 206, ¶¶ 37-40.) The

 Complaint does not allege or even suggest that, as Kaweske pitched Clover Top, Plaintiffs were

 agreeing to be bound to invest in the company. Second, and more fundamentally, the only



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  As to Clover Top, Plaintiffs have done nothing to cure the pleading defects that prompted the
 Court to dismiss their breach of contract claim (ECF No. 188 at 15-16); that is, their Third
 Amended Complaint fails to explain how Clover Top breached the subscription agreements,
 which only required Clover Top to issue company shares.


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 consideration Plaintiffs provided was their investment—and they made that investment in Clover

 Top, not in Kaweske individually. (ECF No. 206, ¶¶ 37, 41-43, 46, 47, 186.)

        In the absence of a contract between Plaintiffs and Kaweske, Plaintiffs cannot maintain

 their breach of contract and good faith and fair dealing claims against him.

 IV.    PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED WITH PREJUDICE

        Despite having four opportunities to state valid claims, Plaintiffs cannot change the

 fundamental facts and law of this case. They invested in an illegal marijuana enterprise and are

 seeking relief that cannot be squared with the CSA. Their most recent amendment, which again

 makes mostly superficial changes, underscores that point. Plaintiffs should not be permitted to

 further burden the Court or Defendants by being given a fifth opportunity. Consistent with the

 Court’s prior ruling that this amendment is the “last time” (ECF No. 200 at 30), the Court’s

 dismissal of Plaintiffs’ claims should be with prejudice. See Rosenfield v. HSBC Bank, USA, 681

 F.3d 1172, 1189 (10th Cir. 2012) (“Dismissal with prejudice is appropriate where the complaint

 fails to state a claim and granting leave to amend would be futile.”).

                                          CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court grant their

 Motion and dismiss Plaintiffs’ Third Amended Complaint with prejudice.




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 Dated: September 17, 2021.            Respectfully submitted,



                                       s/ Thomas A. Olsen
                                       Tamera D. Westerberg
                                       Thomas A. Olsen
                                       Wheeler Trigg O’Donnell LLP
                                       370 Seventeenth Street, Suite 4500
                                       Denver, CO 80202
                                       Telephone: 303.244.1800
                                       Facsimile: 303.244.1879
                                       Email: westerberg@wtotrial.com
                                               olsen@wtotrial.com

                                       Attorneys for Defendants John Kaweske, JW
                                       Colorado, LLC, JW Trinidad, LLC, JW
                                       Ordway, LLC, MMJ 95, LLC, AJC Industries,
                                       LLC, Lifestream Holdings, LLC, Sunlife AG,
                                       LLC, Durango Management, LLC, Ordway
                                       Farms, LLC, and TweedLeaf, LLC (a Colorado
                                       LLC)




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                           CERTIFICATE OF SERVICE (CM/ECF)

      I HEREBY CERTIFY that on September 17, 2021, I electronically filed the foregoing
 JOHN KAWESKE AND THE ENTITY DEFENDANTS’ MOTION TO DISMISS
 PLAINTIFFS’ THIRD AMENDED COMPLAINT with the Clerk of Court using the
 CM/ECF system which will send notification of such filing to the following email addresses:

    •   Stephen K. Christiansen
        steve@skclawfirm.com, jen@skclawfirm.com

    •   Jeffrey B. Klaus
        jbk@deisch-marion.com

    •   Timothy F. Marion
        tim_marion@deisch-marion.com, barb_dye@deisch-marion.com

    •   Matthew A. Steward
        mas@clydesnow.com

    •   Shaunda L. McNeill
        slm@clydesnow.com

        Notification of this filing is also being sent to Defendant Christopher S. Peterson via
 email at chris@blinghouse.com.



                                             s/ Thomas A. Olsen
